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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               SPARTANBURG DIVISION

 UNITED STATES OF AMERICA                            CRIMINAL NO: 7:23-cr-00900-TMC-1

 v.

 DA’ RON JEROME COLLINS                              ELEMENTS AND PENALTIES


       To sustain its burden of proof, the Government is required to prove the following:

COUNT 1:       ESSENTIAL ELEMENTS OF 18 U.S.C. SECTION 1519
                              (Obstruction of Justice)
               (1)    the defendant knowingly destroyed, concealed, or covered up any record,
                      document, or tangible object;
               (2)    the defendant, acting in relation to or in contemplation of the investigation
                      or proper administration of a matter, intended to impede, obstruct, or
                      influence the investigation or proper administration of that matter; and
               (3)    the matter was within the jurisdiction of a department or agency of the
                      United States.
Penalties: 18 U.S.C. § 1512(b)(3) — a maximum term of imprisonment of not more than 20
years, a fine of $250,000 and a term of supervised release not more than three (3) years plus a
special assessment fee of $100.

COUNT 2:       ESSENTIAL ELEMENTS OF 18 U.S.C. SECTION 1512 (b)(3)
                               (Witness Tampering)

               (1)    the defendant knowingly engaged in misleading conduct toward another
                      person;
               (2)    the defendant acted with the intent to hinder, delay, or prevent the
                      communication of information, and that it is reasonably likely that, if the
                      misleading conduct had not occurred, at least one relevant communication
                      would have been made to a federal law enforcement officer or federal
                      judge; and
               (3)    such truthful information related to the commission or possible
                      commission of a federal offense.
Penalties: 18 U.S.C. § 1519 — a maximum term of imprisonment of not more than 20 years, a
fine of $250,000 and a term of supervised release not more than three (3) years plus a special
assessment fee of $100.
